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                          UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                               SAN FRANCISCO DIVISION
                                              )   Case No.: 20-mc-80214 VC
                                              )
In re DMCA Sec. 512(h) Subpoena to Twitter,   )   AMICI CURIAE BRIEF OF
Inc.                                          )   ELECTRONIC FRONTIER
                                              )
                                              )   FOUNDATION AND ACLU
                                              )   FOUNDATION OF NORTHERN
                                              )   CALIFORNIA IN SUPPORT OF
                                              )   TWITTER’S MOTION FOR
                                              )   DE NOVO DETERMINATION
                                              )   OF DISPOSITIVE MATTER
                                              )   REFERRED TO MAGISTRATE
                                              )
                                              )   JUDGE
                                              )
                                              )   Date: May 12, 2022
                                              )   Time: 10:00 AM
                                              )   Dept: Courtroom 4, 17th Floor
                                              )   Hon. Vince Chhabria



                                                  i.   i


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                                         INTRODUCTION

        The Magistrate’s ruling is deeply flawed, in multiple ways.

        First, by centering its analysis of Bayside’s subpoena on fair use, rather than the two-step

test articulated in Highfields Cap. Mgmt., L.P. v. Doe, 385 F. Supp. 2d 969 (N.D. Cal. 2005), the

Order assumes and reinforces a two-tiered system of protections for anonymous speakers.

According to this approach, some speakers are more vulnerable to unmasking than others, based

solely on the nature of the claims asserted again them. Under Ninth Circuit law, that was error:

anonymity standards depend on the nature of the speech, not the nature of the claims. See In re

Anonymous Online Speakers, 661 F.3d 1168, 1177 (9th Cir. 2011).

        Second, the ruling exacerbates that risk by requiring the speaker, if they have engaged in

fair use, to submit evidence themselves or face unmasking. In some cases, such evidence may be

necessary. But many fair uses are obvious on their face, and courts can rule on the matter without

hearing from the speaker. Moreover, a speaker may be unable to submit evidence to the court for

many reasons, including the significant practical and financial burdens that internet users face in

retaining counsel to adequately defend their First Amendment rights.

        Third, as a corollary matter, the ruling effectively rewrites the rules of standing to prevent

a service provider from stepping in to protect the speaker. It is well settled that online services that

distribute others’ speech are entitled to assert those speakers’ First Amendment rights, and there

is no reason to depart from that precedent here.

        All these flaws in the Order chip away at the fundamental constitutional right to anonymous

speech, setting a dangerous precedent for online speakers who wish to use copyrighted materials

as part of their criticism and commentary. Such uses are common—as is misuse of copyright law

to try to silence that criticism. Undermining First Amendment protections for those speakers will

only encourage further misuse, chilling an important
                                            ii. i and effective form of speech.

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        Amici Electronic Frontier Foundation (“EFF”) and ACLU Foundation of Northern

California (“ACLU”) urge the Court to correct the Magistrate’s errors and chart a better path that

affirms the First Amendment’s robust protections for anonymous speakers. First, this Court should

hold that a litigant’s invocation of copyright law in support of a subpoena to unmask an online

speaker does not create a shortcut past the First Amendment’s strong protections under the test

articulated in Highfields. Second, in applying the two-step test, the Court also should clarify that

the proponent of unmasking bears the burden of establishing that their claims have merit and that

their need to unmask the speaker outweighs the harms that follow from losing anonymity. Bayside

cannot meet that burden here. Third, this Court should affirm that it is possible to conduct a fair

use analysis without evidence from the speaker in question, particularly where, as here, a third-

party online service stands in its user’s shoes to argue fair use on their behalf.

I.      The First Amendment requires all legal demands to unmask anonymous
        speakers—including DMCA subpoenas—to satisfy the two-part test
        recognized in Highfields

        The multiple errors in the Magistrate’s Order stem, in large part, from its decision to follow

its sister court in failing to apply the full analysis set forth in Highfields. Order (Dkt. No. 21) at 5-

6, citing In re DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d 875 (N.D. Cal. 2020). Ninth

Circuit precedent does not recognize a “copyright exception” to the First Amendment’s protections

for anonymous speakers where, as here, the use in question is highly expressive. Further, a fair use

analysis, while necessary as part of the examination, is not an adequate substitute for the required

two-step test under Highfields.

        A.      There is no copyright exception to Highfields’ scrutiny

                1.      The First Amendment protects online anonymity and, in this circuit, and
                        those protections do not vary by the nature of the claim

        The First Amendment protects anonymous speakers from retaliation and other harms by
                                                          ii.   i

                                                      2
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allowing them to separate their identity from the content of their speech to avoid retaliation and

other harms. Anonymity is a distinct constitutional right: “an author’s decision to remain

anonymous, like other decisions concerning omissions or additions to the content of a publication,

is an aspect of the freedom of speech protected by the First Amendment.” McIntyre v. Ohio

Elections Comm’n, 514 U.S. 334, 342 (1995). It is well-settled that the First Amendment protects

anonymity online, as it “facilitates the rich, diverse, and far-ranging exchange of ideas,” Doe v.

2TheMart.com, Inc., 140 F. Supp. 2d 1088, 1092 (W.D. Wash. 2001), and ensures that a speaker

can use “one of the vehicles for expressing his views that is most likely to result in those views

reaching the intended audience.” Highfields, 385 F. Supp. 2d at 981. It is also well-settled that

litigants who do not like the content of Internet speech by anonymous speakers will often misuse

“discovery procedures to ascertain the identities of unknown defendants in order to harass,

intimidate or silence critics in the public forum opportunities presented by the Internet.” Dendrite

Int’l v. Doe No. 3, 775 A.2d 756, 771 (N.J. App. Div. 2001).

       Thus, although the right to anonymity is not absolute, courts subject discovery requests

like the subpoena here to robust First Amendment scrutiny. And in the Ninth Circuit, as the

Magistrate implicitly acknowledged, that scrutiny generally follows the Highfields standard when

the individual targeted is engaging in free expression. Under Highfields, courts must first

determine whether the party seeking the subpoena can demonstrate that its legal claims have merit.

Highfields, 385 F. Supp. 2d at 975-76. If so, the court must look beyond the content of the speech

at issue to ensure that identifying the speaker is necessary and, on balance, outweighs the harm

unmasking may cause. See id. at 976.

               2.      Those same First Amendment protections apply to copyright disputes and
                       are essential to curb abuse

       The Ninth Circuit has held that “the nature of the speech should be a driving force in
                                                   ii.  i

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choosing a standard by which to balance the rights of anonymous speakers in discovery disputes.”

In re Anonymous Online Speakers, 661 F.3d at 1177. Thus, the expression, not “the cause of action

alleged by the plaintiff,” should drive this Court’s analysis. Art of Living Found. v. Does 1-10, No.

10-CV-05022-LHK, 2011 WL. 5444622 at *5 (N.D. Cal. Nov. 9, 2011).

       Accordingly, Highfields’s protections must apply where, as here, the case involves a highly

expressive use of a copyrighted work. Its robust protections stand in sharp contrast to, for example,

early Doe cases involving minimally expressive uses such as peer-to-peer filesharing. See, e.g.,

Arista Records, LLC v. Doe 3, 604 F.3d 110 (2d Cir. 2010); Sony Music Entm’t, Inc. v. Does 1-40,

326 F. Supp. 2d 556 (S.D.N.Y. 2004). In Sony, for example, the court created a five-factor test to

consider whether to identify people sharing music over peer-to-peer networks: “(1) a concrete

showing of a prima facie claim of actionable harm (2) specificity of the discovery request; (3) the

absence of alternative means to obtain the subpoenaed information; (4) a central need for the

subpoenaed information to advance the claim; and (5) the party’s expectation of privacy.” 326 F

Supp.2d at 564-65 (citations omitted). Unlike Highfields, this test does not allow balancing of

harms to the Doe other than their expectation of privacy.

       As explained by the court in Art of Living, that approach is not adequate beyond the file-

sharing context, if even there. Reviewing a request to unmask bloggers that had posted

commentary and materials regarding a religious organization, including a copyrighted work, the

court noted that the act of downloading and distributing copyrighted songs is less expressive than

critical, anonymous online commentary. Art of Living, 2011 WL 5444622 at *5. Following In re

Anonymous Online Speakers, the court held that Highfields applied even when the proponent of

unmasking alleged copyright infringement. Id. at *7.

       The Sixth Circuit Court of Appeals took a similar approach in Signature Mgmt. Team, LLC

                                                      ii.   i
v. Doe, 876 F.3d 831 (6th Cir. 2017). In that case, a multi-level marketing company sought to

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identify the anonymous speaker who posted a downloadable copy of one of the company’s

copyrighted books on his blog. Id. at 834. On summary judgment, the company prevailed on its

copyright infringement claim, but the district court denied the company’s request to unmask the

blogger. Id. at 834-35. On appeal, the company argued that “since Doe is an adjudicated copyright

infringer, his speech is not protected by the First Amendment.” Id. at 835.

       The Sixth Circuit rejected that argument, noting that an unmasking analysis based solely

on copyright law would mean disregarding the broader context of a speakers’ expression:

“Although Doe’s infringing speech is not entitled to First Amendment protection, that speech

occurred in the context of anonymous blogging activities that are entitled to such protection.” Id.

at 839. Endorsing a Highfields-like approach, including interest balancing, the court concluded

that the Doe could remain anonymous. As the court observed, “an order unmasking Doe would [.

. .] unmask him in connection with both protected and unprotected speech and might hinder his

ability to engage in anonymous speech in the future.” Id. at 839.

       The same concerns apply here. The user’s tweets involve a mix of lawful and potentially

infringing expression. Narrowing the inquiry to focus exclusively on whether copyright

infringement occurred incorrectly allows the nature of the claim to drive the analysis, rather than

the nature of the speech at issue.

       B.         A fair use analysis alone is not a substitute for robust Highfields’ scrutiny

       The Magistrate further confused matters by suggesting that a fair use analysis could be a

proxy for the robust two-step First Amendment analysis Highfields requires. Order at 7. This

suggestion follows a decision, in In re DMCA Subpoena, 441 F. Supp. 3d at 882, to resolve a

similar case purely on fair use grounds, on the theory that Highfields “is not well-suited for a

copyright dispute” and “the First Amendment does not protect anonymous speech that infringed

copyright.” Id.                                          ii.   i

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         That theory was legally incorrect. While fair use is a free-speech safety valve that helps

reconcile the First Amendment and the Copyright Act with respect to restrictions on expression,

anonymity is a distinct First Amendment right.1 Signature Mgmt., 876 F.3d at 839. Moreover,

DMCA subpoenas like those at issue here and in In re DMCA Subpoena, concern attempts to

unmask internet users who are engaged in commentary. In such cases, as with the blogger in

Signature Mgmt., unmasking is likely to chill lawful as well as allegedly infringing speech. They

thus raise precisely the same speech concerns identified in Highfields: the use of the discovery

process “to impose a considerable price” on a speaker’s anonymity. 385 F. Supp. 2d at 981-82.

         Indeed, where a use is likely or even colorably a lawful fair use, allowing a fair use analysis

alone to substitute for a full Highfields review gets the question precisely backwards, given the

doctrine’s “constitutional significance as a guarantor to access and use for First Amendment

purposes.” Suntrust Bank v. Houghton Mifflin, 268 F.3d 1257, 1260 n.3 (11th Cir. 2001). Fair use

prevents copyright holders from thwarting well-established speech protections by improperly

punishing lawful expression, from critical reviews, to protest videos that happen to capture

background music, to documentaries incorporating found footage, and so on. But the existence of

one form of speech protection (the right to engage in fair use) should not be used as an excuse to

give shorter shrift to another (the right to speak anonymously).

         Moreover, in the DMCA context, requiring a full Highfields analysis helps limit the chilling

effects of the DMCA’s hair-trigger processes. Copyright holders already abuse the DMCA’s

takedown notice regime in Section 512(c) to shut down lawful speech. To take just a few examples:


1
 EFF was counsel to the Reddit user that prevailed in maintaining their anonymity in In Re DMCA
Subpoena to Reddit, Inc., 441 F. Supp. 3d 875. Like EFF here, Doe argued to both the Magistrate
Court and District Court that Highfields applied to the DMCA subpoena. See id., No. 19-mc-
80005-SK (JD), Dkt. No. 8 at 8-10 (Motion to Quash); Dkt. No. 20 at 3-9 (Motion for De Novo
Determination).
                                                      ii.  i

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      •   The government of Ecuador engaged in a well-funded and sustained campaign of DMCA
          abuse to silence criticism of President Rafael Correa.2
      •   The Alberta tourism bureau, Travel Alberta, sent a takedown notice targeting a satirical
          video that happened to use four seconds of a Travel Alberta advertisement.3 The video was
          tied to a fundraising campaign by Andy Cobb and Mike Damanskis, Los Angeles-based
          satirists who have authored over 100 political comedy videos.
      •   Film critic Kevin B. Lee found his entire account removed from YouTube in response to
          takedown notices complaining about clips Lee used in the criticism he posted there.4
      •   The musician Prince sent a series of takedown notices targeting fan videos—even though
          he did not own the music in question.5

Similar DMCA abuses have been documented for decades, and many more are collected at EFF’s

Takedown Hall of Shame.6

          Highfields alone cannot prevent takedown abuse under 17 U.S.C. § 512(c), but it can help

mitigate the consequences by ensuring that even where fair use is not clear, rightsholders cannot

automatically take advantage of Section 512(h) to further retaliate against the speaker.

II.       Bayside’s subpoena cannot survive the requisite scrutiny

          Under Highfields, Bayside bears the burden of making out a prima facie case of

infringement, including, in the case, showing that the use was not a lawful fair use and that the

balance of harms favors disclosure. It has not, and cannot, meet that burden.




2
  James Ball & Paul Hamilos, Ecuador’s President Used Millions of Dollars of Public Funds to
Censor       Critical       Online     Videos,     BuzzFeedNews        (Sept.       24,    2015),
www.buzzfeed.com/jamesball/ecuadors-president-used-millions-of-dollars-of-public-funds.
3
  See Mitch Stoltz, Using Copyright to Silence Oil Sands Satire? How Crude., EFF DeepLinks
Blog (Aug. 20, 2013), https://www.eff.org/deeplinks/2013/08/using-copyright-silence-oil-
company-satire-how-crude.
4
  See Nate Anderson, What Fair Use? Three Strikes and You’re Out… of YouTube, Ars Technica
(Jan. 15, 2009), http://arstechnica.com/tech-policy/news/2009/01/what-fair-use-three-strikes-and-
youre-out-of-youtube.ars.
5
   See Prince vs. Prince Fan Sites, Digital Media Law Project (Jan. 25, 2008),
http://www.dmlp.org/threats/prince-v-prince-fan-sites (collecting Prince’s threats).
6
  Takedown Hall of Shame, Electronic Frontier Foundation, www.eff.org/takedowns.
                                                      ii.  i

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       A.      Bayside bears the burden on both steps

       Bayside incorrectly claims that Twitter (and by implication, its user) bears the burden of

demonstrating that the use in question was a lawful fair use. Opposition to Motion to Quash (Dkt.

No. 9) at 15. The party seeking discovery normally bears the burden of showing its legal claims

have merit. Highfields, 385 F. Supp. 2d at 975-76. In this pre-litigation stage, that burden should

not shift to the anonymous speaker, for at least three reasons.

       First, constitutional rights, such as the right to anonymity, trump statutory rights such as

copyright. Silvers v. Sony Pictures Entm’t, Inc., 402 F.3d 881, 883-84 (9th Cir. 2005). Moreover,

fair use has an additional constitutional dimension because it serves as a First Amendment “safety

valve” that helps reconcile the right to speak freely and the right to restrict speech. William F.

Patry & Shira Perlmutter, Fair Use Misconstrued: Profit, Presumptions, and Parody, 11 Cardozo

Arts & Ent. L.J. 667, 668 (1993). Shifting the Highfields burden to the speaker would create a

cruel irony: an anonymous speaker would be less able to take advantage of one First Amendment

safeguard—the right to anonymity—solely because their speech relies on another—the right to

fair use. Notably, the Ninth Circuit has stressed that fair use is not an affirmative defense that

merely excuses unlawful conduct; rather, it is an affirmative right that is raised as a defense simply

as a matter of procedural posture. Lenz v. Universal, 815 F.3d 1145, 1152 (9th Cir. 2016).

       Second, Bayside itself was required to assess whether the use in question was fair before it

sent its DMCA takedown notices to Twitter; it cannot now complain if the Court asks it to explain

that assessment before ordering unmasking. In re DMCA Subpoena, 441 F. Supp. 3d at 886 (citing

Lenz., 815 F.3d at 1153: “a copyright holder must consider the existence of fair use before sending

a takedown notification under § 512(c)”)

       Third, placing the burden on the party seeking to unmask a Doe makes practical sense at

this early stage, when many relevant facts lie with the
                                                     ii. rightsholder.
                                                            i          Here, for example, Bayside

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presumably knows—though it has declined to address—the original purpose of the works. And as

the copyright holder, it is best positioned to explain how the use at issue might affect a licensing

market. While the copyright holder cannot see into the mind of the user, the user’s purpose is easy

to surmise here, and the same is likely to be true in any 512(h) case involving expressive uses.

With respect to the nature of the work, any party can adequately address that factor. Indeed, both

Bayside and Twitter have done so.

       B.      Bayside cannot meet its burden on the first step

       The Magistrate erroneously concluded that it could not adequately consider fair use without

evidence from the speaker, and, therefore, could not hold that Bayside had failed to establish its

prima facie case. Order at 7-9. Amici urge the Court to reject both parts of that conclusion: (1) that

a court cannot, as a categorical matter, determine fair use without evidence from the speaker; and

(2) that this Court could not do so on these facts.

               1.      Lawfulness can be determined on the face of the use

        While courts often reserve fair use determinations for summary judgment or trial, in

appropriate circumstances it is possible to make the determination based on the use itself. See In

re DMCA Section 512(h) Subpoena to YouTube (Google, Inc.), No. 7:18-MC-00268 (NSR), 2022

WL 160270 (S.D.N.Y. Jan. 18, 2022) (rejecting the argument that fair use cannot be determined

during a motion to quash proceeding). In Burnett v. Twentieth Century Fox, for example, a federal

district court dismissed a copyright claim—without leave to amend—at the pleading stage based

on a finding of fair use. 491 F. Supp. 2d 962, 967, 975 (C.D. Cal. 2007); see also Leadsinger v.

BMG Music Pub., 512 F.3d 522, 532–33 (9th. Cir. 2008) (affirming motion to dismiss, without

leave to amend, fair use allegations where three factors “unequivocally militated” against fair use).

See also, e.g., Sedgwick Claims Mgmt. Servs., Inc. v. Delsman, 2009 WL 2157573 at *4 (N.D. Cal.

July 17, 2009), aff’d, 422 F. App’x 651 (9th Cir. 2011);
                                                  ii.   i Savage v. Council on Am.-Islamic

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Rels., Inc., 2008 WL 2951281 at *4 (N.D. Cal. July 25, 2008); City of Inglewood v. Teixeira, 2015

WL 5025839 at *12 (C.D. Cal. Aug. 20, 2015); Marano v. Metro. Museum of Art, 472 F. Supp. 3d

76, 82–83, 88 (S.D.N.Y. 2020), aff’d, 844 F. App’x 436 (2d Cir. 2021); Lombardo v. Dr. Seuss

Enters., L.P., 279 F. Supp. 3d 497, 504–05 (S.D.N.Y. 2017), aff’d, 729 F. App’x 131 (2d Cir.

2018); Hughes v. Benjamin, 437 F. Supp. 3d 382, 389, 394 (S.D.N.Y. 2020); Denison v. Larkin,

64 F. Supp. 3d 1127, 1135 (N.D. Ill. 2014).

       These ruling are possible because many fair uses are obvious. A court does not need to

consult a user to determine that the use of an excerpt in a book review, the use of a thumbnail

photograph in an academic article commenting on the photographer’s work, or the inclusion of an

image in a protest sign are lawful uses. There is no need to seek a declaration from a journalist

when they quote a series of social media posts while reporting on real-time events.

       Further, as noted above, in the context of a Section 512(h) subpoena to pierce a user’s

anonymity, fair use determinations will often be essential to curb abuse of the takedown process.

As noted above, such abuse is rampant, and often involves fair uses for criticism and commentary.

And unfortunately, in many cases involving the DMCA, the accused infringer may not be able to

intervene on their own behalf. See infra Section III.

                2.     Based on the facts in the record, the use at issue is a lawful fair use

       Given that Twitter has fully briefed the fair use analysis here, Amici will merely highlight

a few points.

       First, the tweets appear to be noncommercial, transformative, critical commentary—classic

fair uses. The tweets present photographs of a woman, identified as “the new Mrs. Brian Sheth”

as part of commentary on Mr. Sheth, the clear implication being that Mr. Sheth has used his wealth

to “invest” in a new, young, wife. As the holder of rights in the photographs, Bayside could have

explained the original purpose of the photographs; itii.has ichosen not to do so. In any event, it

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seems unlikely that Bayside’s original purpose was to illustrate criticism and commentary

regarding a billionaire investor. Hence, the user “used the [works] to express ‘something new, with

a further purpose or different character, altering the first with new expression, meaning, or

message.’” In re DMCA Subpoena to Reddit, Inc., 441 F. Supp. 3d at 883 (quoting Campbell v.

Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994)). While undoubtedly crass, the user’s purpose

is transformative and, Bayside’s speculation notwithstanding, there is nothing to suggest it was

commercial.

       As for the second factor, while the underlying works are creative, they are minimally so—

they appear to document the subject’s appearance and activities. Further, where, as here, the use

is transformative, the nature of the work is “not . . . terribly significant in the overall fair use

balancing.” Mattel v. Walking Mountain Prod., 353 F.3d 792, 803 (9th Cir. 2003) (citation

omitted).

       On the third factor, the amount used—entire photographs—appears to be necessary to

fulfill the user’s purpose: illustrating and supporting their comments. “If the secondary user only

copies as much as is necessary for his or her intended use, then this factor will not weigh against

him or her.” Kelly v. Arriba Soft Corp., 336 F.3d 811, 820-21 (9th Cir. 2003). Bayside may not

like that purpose, but that’s not an argument against fair use.

       Finally, it is difficult to imagine how this use could harm any licensing market cognizable

under copyright law. Tweets and embedded thumbnail photos cannot conceivably substitute for

the photos themselves. Bayside’s failure to offer any evidence, much less an argument, showing

any likely market harm is telling. See Seltzer v Green Day, 725 F.3d 1170, 1179 (9th Cir. 2013)

(fourth factor favored fair use where, inter alia, plaintiff failed to provide any substantial evidence

supporting claim to comparable licensing opportunity). Further, Bayside would not license the

                                           ii. i
photos in question to enable criticism and commentary like the user’s expression here.

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Fair use exists, in significant part, to protect uses that are unlikely to be permitted by the copyright

owner. See Campbell, 510 U.S.at 585; see also Mattel, 353 F.3d at 806 (no market harm where

copyright owner would not enter the relevant market).

        C.      Bayside cannot meet its burden on the second step

        Even if Bayside had a viable infringement claim, it cannot show that unmasking is truly

necessary to advance its interests, that those needs outweigh the harm that would result., and that

no alternative path exists. Highfields, 385 F. Supp. 2d at 980; Signature Mgmt., 876 F.3d at 834.

Bayside offered no argument or evidence on the first point, which should have ended the inquiry

in favor of quashing the subpoena. Twitter Mot. (Dkt. No. 10) at 14. Instead, the Magistrate ended

the inquiry in another way, finding that the court could not balance the harms at all without user

evidence. Order at 9. This, too, was error.

        As a practical matter, again on the facts in the record, unmasking would accomplish little

other than allowing retaliation and chilling further speech. Twitter removed all six copyrighted

images from @CallMeMoneyBags’ tweets in response to Bayside’s DMCA takedown notices sent

in October 2020. Order at 2-3. Thus, to the extent Bayside seeks to prevent continued infringement

of the photos in those tweets, it has already obtained that relief via the DMCA’s notice and

takedown regime. See Signature Mgmt., 876 F.3d at 838 (holding that unmasking was not

necessary given that the copyrighted material was no longer being published on the anonymous

defendant’s blog). And there is no indication that statutory penalties are needed to deter further

potentially unlawful conduct.

        On the other side of the scale, unmasking would cause irreparable harm—or at the very

least, the Magistrate could have inferred as much. It is well-settled that “[t]he loss of First

Amendment freedoms . . . unquestionably constitutes irreparable injury.” Elrod v. Burns, 427 U.S.

347, 373 (1976). As the Supreme Court has recognized
                                           ii.  i                     in    an   analogous     context,

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unmasked individuals can be “vulnerable to threats, harassment, and reprisals.” Brown v. Socialist

Workers ’74 Campaign Comm. (Ohio), 459 U.S. 87, 97 (1982). The same is true for online

speakers. See Art of Living, 2011 WL 5444622 at *9 (to “the extent that [a user’s] anonymity

facilitates free speech, the disclosure of his identity is itself an irreparable harm.”); see also

Dendrite, 775 A.2d at 771 (recognizing that unmasking speakers can let other people “harass,

intimidate or silence critics”).

        Finally, the Magistrate could have considered alternatives short of full public disclosure of

@CallMeMoneyBags’ identity. For example, the district court in Signature Mgmt. permitted

disclosure of the anonymous blogger’s identity to plaintiff’s counsel and the court, subject to a

protective order that prevented the plaintiff company from learning the blogger’s identity. See

Signature Mgmt. Team, LLC v. Doe, No. 13-cv-14005, 2015 WL 13036681 at *8 (E.D. Mich. Nov.

4, 2015). The Sixth Circuit later held that no further disclosure of Doe’s identity was necessary.

Signature Mgmt., 876 F.3d at 838-39; see also Mobilisa, Inc. v. Doe, 170 P.3d 712, 720 (Ariz. Ct.

App. 2007) (recognizing that courts should consider whether other discovery, besides unmasking,

is available to address a litigant’s needs).

III.    Online services must be able to defend their users’ First Amendment rights

        Of course, there was a party in court able and willing to offer evidence and argument on

fair use: Twitter. The Magistrate’s refusal to credit Twitter’s own evidence, Order at 7-8, sends a

dangerous message to online speakers: either show up and fully litigate their anonymity—risking

their right to remain anonymous in the process—or face summary loss of their anonymity when

they do not appear. Order at 7. That outcome inevitably “impose[s] a considerable price” on

internet users’ ability to exercise their rights to speak anonymously. Highfields, 385 F. Supp. 2d

at 980-81. And “when word gets out that the price tag of effective sardonic speech is this high, that

speech will likely disappear.” Id. at 981.              ii.   i

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         That chilling effect will be particularly acute for speech from unsophisticated litigants who

may have difficulty finding—much less paying for—counsel to defend their rights. See Enterline

v. Pocono Med. Ctr., 751 F. Supp. 2d 782, 785-86 (M.D. Pa. 2008). Those challenges aside, the

speaker may have not received notice of the subpoenas, particularly given that 512(h) subpoenas,

unlike most others, may be issued ex parte. The speaker may be hard to reach because they have

shut down the email account associated with the tweets in question (and are therefore unreachable).

Or they may simply too intimidated by the potentially ruinous statutory penalties copyright law

authorizes. Some or all of these factors may be present here. For example, it’s not clear whether

@CallMeMoneyBags is even aware of this litigation. Although the Magistrate ordered Twitter to

email @CallMeMoneyBags the order requiring the user to appear and provide evidence last

November, Order at 7-8, there is no evidence that those efforts successfully provided the user with

notice. Moreover, the account has not tweeted since October 2021, raising questions as to whether

the user is checking the email account registered with Twitter.7

         No relevant case law dictated the Magistrate’s refusal to consider Twitter’s evidence and

argument. To the contrary, it is well settled that online services that distribute others’ speech are

entitled to assert those speakers’ First Amendment rights. Enterline, 751 F. Supp. 2d at 786 (online

publisher had standing to defend its users’ anonymity); McVicker v. King, 266 F.R.D. 92, 95-96

(W.D. Pa. 2010) (“The trend among courts . . . is to hold that entities such as newspapers, internet

service providers, and website hosts may, under the principle of jus tertii standing, assert the rights

of their readers and subscribers.”); In re Verizon Internet Serv., Inc., 257 F. Supp. 2d 244, 257-58

(D.D.C. 2003), rev’d on other grounds, RIAA v. Verizon Internet Serv., Inc., 351 F.3d 1229 (D.C.

Cir. 2003); Glassdoor, Inc. v. Superior Court, 9 Cal. App. 5th 623, 629 (2017) (“a substantial


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    See https://twitter.com/CallMeMoneyBags.
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preponderance of national authority favors the rule that publishers, including Web site operators,

are entitled to assert the First Amendment rights of their anonymous contributors in maintaining

anonymity.”).

           Indeed, the Supreme Court has recognized that not permitting third-party standing under

the First Amendment “would have an intolerable, inhibitory effect on freedom of speech.”

Eisenstadt v. Baird, 405 U.S. 438, 445 n.5 (1972); see also USA Tech., Inc. v. Doe, 713 F. Supp.

2d 901, 906 (N.D. Cal. 2010) (recognizing the “chilling effect that subpoenas would have on lawful

commentary and protest” if online services aren’t allowed to assert their users’ anonymous speech

rights).

           Twitter was willing and able to stand in its users’ shoes, and the Magistrate should have

allowed it to do so.

                                           CONCLUSION

           For the foregoing reasons, Amici respectfully requests that the Court grant Twitter’s

motion for de novo determination and quash Bayside’s subpoena.

            DATED: February 18, 2022                           Respectfully submitted,


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